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                                   3                              UNITED STATES DISTRICT COURT

                                   4                           NORTHERN DISTRICT OF CALIFORNIA

                                   5                                      SAN JOSE DIVISION

                                   6
                                           IN     RE    PERSONAL        WEB
                                   7       TECHNOLOGIES, LLC ET AL., PATENT             Case No. 18-md-02834-BLF
                                   8       LITIGATION

                                           AMAZON.COM, INC. and AMAZON WEB              ORDER CONDITIONALLY
                                   9                                                    GRANTING STUBBS ALDERTON &
                                           SERVICES, INC.,                              MARKILES, LLP’S MOTION TO
                                  10                                                    WITHDRAW AS COUNSEL FOR
                                                          Plaintiffs                    PERSONALWEB TECHNOLOGIES,
                                  11            v.                                      LLC
                                  12
Northern District of California




                                           PERSONALWEB TECHNOLOGIES, LLC
 United States District Court




                                  13       and LEVEL 3 COMMUNICATIONS, LLC,             Case No.: 5:18-cv-00767-BLF
                                  14                      Defendants.
                                  15       PERSONALWEB TECHNOLOGIES, LLC                Case No.: 5:18-cv-05619-BLF
                                           and LEVEL 3 COMMUNICATIONS, LLC,
                                  16

                                  17                      Plaintiffs
                                                v.
                                  18
                                           TWITCH INTERACTIVE, INC.,
                                  19

                                  20                      Defendant.

                                  21
                                              Before the Court is Stubbs Alderton & Markiles, LLP’s (“SAM”) second motion to withdraw
                                  22
                                       as counsel for PersonalWeb Technologies, LLC (“PersonalWeb”) as to the post-judgment collection
                                  23
                                       proceedings regarding PersonalWeb’s patent infringement claims against Amazon.com, Inc.;
                                  24
                                       Amazon Web Services, Inc.; and Twitch Interactive, Inc. (collectively, “Amazon”). See Motion,
                                  25
                                       ECF No. 728.1 In compliance with this Court’s Order, ECF No. 752, Michael Weiss, as President
                                  26
                                  27
                                       1
                                  28     All ECF numbers in this order pertain to In re: PersonalWeb Techs., LLC, No.
                                       18–md–02834–BLF.
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                                   1   and Manager of PersonalWeb, appeared as a representative of PersonalWeb along with specially

                                   2   appearing counsel Robert M. Charles, Jr. at the June 23, 2022 hearing on PersonalWeb’s motion.

                                   3   SAM previously filed a motion to withdraw, which the Court conditionally granted on June 25,

                                   4   2021, holding that SAM could withdraw only if replacement counsel for PersonalWeb filed a notice

                                   5   of appearance. See Order on First Motion to Withdraw, ECF No. 694. Since that order, no notice

                                   6   of appearance for PersonalWeb’s replacement counsel has been filed, so SAM remains as

                                   7   PersonalWeb’s counsel in this case.      In its second motion to withdraw, SAM argues that

                                   8   developments in the case since the Court’s order on SAM’s first motion to withdraw have put SAM

                                   9   in danger of committing California ethical violations.       See Motion, ECF No. 728; Reply,

                                  10   ECF No. 748. Specifically, SAM points out that PersonalWeb has failed to comply with the Court’s

                                  11   discovery orders, creating potential conflict and competent representation issues on SAM’s part.

                                  12   See ECF Nos. 664, 704. Additionally, SAM points out that a Los Angeles County Superior Court
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                                  13   has issued a preliminary injunction in a PersonalWeb receivership action appointing a receiver (the

                                  14   “Receiver”) and enjoining PersonalWeb from interfering with the Receiver’s duties. See Kehr

                                  15   Decl., ECF No. 728-1, Ex. E. SAM argues that it would breach the preliminary injunction if it

                                  16   continued to represent PersonalWeb in this case. Amazon opposes SAM’s motion and makes

                                  17   several requests for affirmative relief against SAM. See Opposition, ECF No. 742.

                                  18           Based on the below reasoning, the Court CONDITIONALLY GRANTS SAM’s second

                                  19   motion to withdraw. As with the Court’s order conditionally granting SAM’s first motion to

                                  20   withdraw, SAM may withdraw (1) once PersonalWeb has filed a notice of appearance for

                                  21   replacement counsel or (2) upon satisfactory explanation of the Receiver’s refusal to authorize

                                  22   substitute counsel and submission of effective contact information for the Receiver and

                                  23   PersonalWeb. Additionally, as outlined at the June 23, 2022 hearing on SAM’s motion to withdraw,

                                  24   the Court DIRECTS SAM to make several requests of the Receiver, as outlined below. Also, the

                                  25   Court STRIKES Amazon’s requests for affirmative relief against SAM and STAYS further motion

                                  26   practice before the Magistrate Judge handling post-judgment discovery.

                                  27     I.   BACKGROUND
                                  28          On July 27, 2021, the Court issued an Amended Judgment in favor of Amazon for
                                                                                       2
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                                   1   $5.4 million in attorneys’ fees, costs, and post-judgment interest.       See Amended Judgment,

                                   2   ECF No. 708. The Court’s judgment followed a finding on summary judgment that Amazon did

                                   3   not infringe PersonalWeb’s asserted patents. See Summary Judgment Order, ECF No. 578.

                                   4          On May 25, 2021, SAM moved to withdraw as counsel for PersonalWeb, arguing that

                                   5   withdrawal was appropriate because PersonalWeb had discharged SAM as its counsel and retained

                                   6   replacement counsel to represent it in the post-judgment collection proceedings. See ECF No. 688.

                                   7   On June 25, 2021, the Court conditionally granted SAM’s motion to withdraw, allowing SAM to

                                   8   withdraw only upon notice of appearance by replacement counsel. See Order, ECF No. 694 at 4.

                                   9   The Court found that unless replacement counsel filed a notice of appearance, SAM’s withdrawal

                                  10   would unduly prejudice Amazon by thwarting Amazon’s efforts to collect its judgment. See id.

                                  11          In the year since the Court’s June 25, 2021 Order, no notice of appearance for PersonalWeb’s

                                  12   replacement counsel has been filed in this case. SAM now moves to withdraw as counsel for
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                                  13   PersonalWeb for a second time. See Motion, ECF No. 728. SAM argues that based on factual

                                  14   developments since the Court’s order conditionally granting SAM’s first motion to withdraw, the

                                  15   prejudice to SAM if it is not allowed to withdraw outweighs any prejudice to Amazon from SAM’s

                                  16   withdrawal. See Motion, ECF No. 728. Specifically, SAM argues that if it is not allowed to

                                  17   withdraw, then it risks violating provisions of the California Business & Professions Code and the

                                  18   California Rules of Professional Conduct. See id. Amazon opposes, arguing that SAM has not

                                  19   identified grounds warranting reconsideration of the Court’s denial of SAM’s previous withdrawal

                                  20   motion. See Opposition, ECF No. 742.

                                  21          SAM points to two main developments since the Court’s order conditionally granting SAM’s

                                  22   first motion to withdraw.     First, SAM points to a state court receivership action involving

                                  23   PersonalWeb. On April 27, 2021, creditors filed a receivership action in Los Angeles County

                                  24   Superior Court against PersonalWeb (“Receivership Action”). The Los Angeles County Superior

                                  25   Court issued a preliminary injunction appointing Robb Evans & Associates LLC (the “Receiver”)

                                  26   as receiver on June 1, 2021. See Kehr Decl., ECF No. 728-1, Ex. E. The stipulation enjoined

                                  27   PersonalWeb and its representatives, inter alia, from “[d]oing any act or thing whatsoever to

                                  28   interfere with the Receiver taking control or possession of, or managing the property subject to this
                                                                                        3
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                                   1   receivership; or in any way to interfere with the Receiver; or to harass or interfere with the duties of

                                   2   the Receiver; or to interfere in any manner with the exclusive jurisdiction of this Court over the

                                   3   property and assets of Defendant PersonalWeb, or its subsidiaries or affiliates.” See id. at 5. Further,

                                   4   the stipulation enjoined PersonalWeb and its representatives from “[c]ommencing, prosecuting,

                                   5   continuing, or entering into any suit or proceeding in the name or on behalf of Defendant

                                   6   PersonalWeb, or any of their subsidiaries or affiliates, except for any pending enforcement actions

                                   7   by Defendant PersonalWeb concerning it [sic] intellectual property claims[.]” See id. at 4.

                                   8           Second, SAM points to PersonalWeb’s failure to comply with the Court’s April 27 and

                                   9   July 20, 2021 discovery orders. See ECF Nos. 664, 704. SAM also points to Amazon’s threats of

                                  10   sanctions and contempt motions against SAM and PersonalWeb if PersonalWeb continues to fail to

                                  11   comply with the Court’s discovery orders. See Motion, ECF No. 728 at 7–8 (citing Gersh Decl.,

                                  12   ECF No. 728-6 ¶ 6, Ex. J; Parker Decl., ECF No. 728-2 ¶¶ 3–4; Sherman Decl., ECF No. 728-3
Northern District of California
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                                  13   ¶ 6).

                                  14    II.    LEGAL STANDARD
                                  15           Under Civil Local Rule 11-5, counsel may not withdraw from an action until relieved by

                                  16   order of the Court after written notice has been provided, reasonably in advance, to the client and to

                                  17   all other parties who have appeared in the case. Civ. L.R. 11-5(a). A corporation, unincorporated

                                  18   association, partnership or other such entity may appear only through a member of the bar of this

                                  19   Court. See Civ. L.R. 3-9(b); see also United States v. High Country Broad Co., Inc., 3 F.3d 1244,

                                  20   1245 (9th Cir. 1993).

                                  21           “In this district, the conduct of counsel, including withdrawal of counsel, is governed by the

                                  22   standards of professional conduct required of members of the State Bar of California.” Optrics Inc.

                                  23   v. Barracuda Networks Inc., No. 17–cv–04977–RS, 2020 WL 1815690, at *2 (N.D. Cal. Feb. 28,

                                  24   2020) (citation omitted). Before withdrawing for any reason, however, an attorney must take

                                  25   “reasonable steps to avoid reasonably foreseeable prejudice to the rights of the client, including

                                  26   giving due notice to the client, allowing time for employment of other counsel, complying with

                                  27   rule 3-700(D), and complying with applicable laws and rules.” Cal. R. Prof. Conduct 3-700(A)(2).

                                  28           The decision to permit counsel to withdraw is within the sound discretion of the trial court.
                                                                                          4
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                                   1   United States v. Carter, 560 F.3d 1107, 1113 (9th Cir. 2009). Courts consider several factors when

                                   2   deciding a motion for withdrawal, including: “(1) the reasons counsel seeks to withdraw; (2) the

                                   3   possible prejudice that withdrawal might cause to other litigants; (3) the harm that withdrawal might

                                   4   cause to the administration of justice; and (4) the extent to which withdrawal will delay resolution

                                   5   of the case.” Deal v. Countrywide Home Loans, No. 09-CV-01643-SBA, 2010 WL 3702459, at *2

                                   6   (N.D. Cal. Sept. 15, 2010) (citations omitted).

                                   7   III.   DISCUSSION
                                   8          A.    SAM’s Motion to Withdraw
                                   9          SAM argues that withdrawal is warranted because if SAM continues to represent

                                  10   PersonalWeb in this action, SAM will violate the California Business & Professions Code and the

                                  11   California Rules of Professional Conduct. See Motion, ECF No. 728. First, SAM argues that

                                  12   California Business & Professions Code § 6103 precludes SAM from continuing to represent
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                                  13   PersonalWeb because doing so would constitute “willful disobedience or violation” of the

                                  14   preliminary injunction in the Receivership Action. See Motion, ECF No. 728 at 5–6 (citing Kehr

                                  15   Decl., ECF No. 728-1, Ex. E).        Second, SAM argues that California Rule of Professional

                                  16   Conduct 1.1 precludes SAM from representing PersonalWeb, because SAM cannot do so “with

                                  17   competence” because of PersonalWeb’s lack of communication regarding the Court’s outstanding

                                  18   discovery orders. See id. at 6 (citing ECF Nos. 664, 704). Third, SAM argues that it cannot continue

                                  19   to represent PersonalWeb under California Rule of Professional Conduct 1.7(b), because Amazon

                                  20   may file a contempt motion or motion for sanctions related to PersonalWeb’s discovery obligations

                                  21   that could create a conflict between SAM and the uncooperative PersonalWeb. See id. at 7–8.

                                  22   Accordingly, SAM asserts that any prejudice to Amazon from SAM’s withdrawal is outweighed by

                                  23   the prejudice to SAM in remaining as PersonalWeb’s counsel. See id. at 8–9. SAM argues that

                                  24   courts have granted motions to withdraw even where they leave corporate parties unrepresented,

                                  25   leaving the party unrepresented and putting “extreme pressure” on it to find new counsel. See Reply,

                                  26   ECF No. 748 at 3–4 (citing Thomas G. Ferruzzo, Inc. v. Sup. Ct., 104 Cal.App.3d 501, 504 (1980);

                                  27   Gamet v. Blanchard, 91 Cal.App.4th 1276, 1284 (2001)). In response, Amazon argues that SAM

                                  28   has not identified a material change to warrant reconsideration; any ethical violations result from
                                                                                         5
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                                   1   SAM improperly taking direction from PersonalWeb, rather than the Receiver; and allowing SAM

                                   2   to withdraw would prejudice Amazon, just as the Court previously held.              See Opposition,

                                   3   ECF No. 742 at 6–9.

                                   4          The Court finds that SAM has failed to show that circumstances have changed sufficiently

                                   5   to warrant modifying the Court’s prior order conditionally granting SAM’s motion to withdraw.

                                   6   See Order on First Motion to Withdraw, ECF No. 694. In that order, the Court found that “SAM’s

                                   7   withdrawal presents undue prejudice to [Amazon],” because “newly retained counsel has refused to

                                   8   appear” and “[i]t appears that PersonalWeb is manipulating the situation by claiming that SAM is

                                   9   not authorized to represent it in post-judgment proceedings while stalling on having its new attorney

                                  10   file an appearance.” See id. at 3. Accordingly, the Court granted SAM’s motion to withdraw on the

                                  11   condition that PersonalWeb filed a notice of appearance for replacement counsel. See id. at 4. A

                                  12   year has passed, and PersonalWeb has still failed to file a notice of appearance for replacement
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                                  13   counsel.

                                  14          SAM’s arguments are insufficient to make the Court reconsider its prior order without

                                  15   obtaining certain information from the Receiver. As to SAM’s arguments related to the California

                                  16   Rules of Professional Conduct and PersonalWeb’s discovery obligations, if counsel could move to

                                  17   withdraw every time its client failed to meet its discovery obligations, the flood of unrepresented

                                  18   parties would inundate the courts. To minimize any prejudice to SAM while the Court works out

                                  19   the issue of PersonalWeb’s representation in this case, the Court hereby STAYS further motion

                                  20   practice before the Magistrate Judge handling post-judgment discovery.

                                  21          As to SAM’s argument regarding the California Business & Professions Code § 6103 and

                                  22   the preliminary injunction in the Receiver Action, the Court notes that the preliminary injunction in

                                  23   the Receivership Action explicitly carves out PersonalWeb’s intellectual property litigation. See

                                  24   Kehr Decl., ECF No. 728-1, Ex. E at 4. However, the reach of that provision is unclear as is the

                                  25   division of authority vested in the Receiver versus the authority retained by PersonalWeb to fulfill

                                  26   its obligations in these post-judgment proceedings under the jurisdiction of the federal court.

                                  27          It is not this Court’s intention to force SAM to violate the state court preliminary injunction

                                  28   or its ethical obligations. But the Court has serious concerns that PersonalWeb is making a mockery
                                                                                         6
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                                   1   of these judicial proceedings. After all, it was PersonalWeb that invoked the jurisdiction of this

                                   2   Court by filing over 60 patent infringement cases against various Amazon customers. PersonalWeb

                                   3   lost all of those cases and is now left with a judgment against it for over $5 million. Performing a

                                   4   possum act by playing dead before this Court is not acceptable conduct. Thus, before SAM may

                                   5   withdraw from the case, the Court must receive communication from the Receiver on certain issues

                                   6   that will advise the Court on the necessity of allowing PersonalWeb to proceed as an unrepresented

                                   7   party or to order appearance of substitute counsel before SAM may withdraw.

                                   8          To this end, the Court orders PersonalWeb to request that the Receiver provide written

                                   9   responses to the three questions set forth below to be transmitted by PersonalWeb to this Court.

                                  10          B.    Amazon’s Requests
                                  11          In its Opposition, Amazon makes several requests. See Opposition, ECF No. 742 at 9–10.

                                  12   First, Amazon requests that the Court direct SAM to comply with certain post-judgment discovery
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                                  13   orders. See id. Second, Amazon requests that the Court order the Receiver to appear and show

                                  14   cause why he has failed to cause PersonalWeb to comply with the Court’s orders and why he has

                                  15   not retained substitute counsel in this action. See id. at 10. Third, Amazon requests that the Court

                                  16   retain jurisdiction over SAM regarding potential sanctions. See id.

                                  17          The Court STRIKES Amazon’s requests as improper attempts to seek affirmative relief in

                                  18   its Opposition. See Finjan, Inc. v. Blue Coat Sys., Inc., No. 13–cv–03999–BLF, 2015 WL 3630000,

                                  19   at *13 n.8 (N.D. Cal. June 2, 2015). Moreover, this Court will not interfere with the judicial acts of

                                  20   the Magistrate Judge handling these issues.

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                                       IV.   ORDER
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                                             For the foregoing reasons, IT IS HEREBY ORDERED that:
                                   2
                                             1.    SAM’s second motion to withdraw is CONDITIONALLY GRANTED. SAM may
                                   3
                                                   withdraw (1) upon notice of appearance by replacement counsel for PersonalWeb;
                                   4
                                                   or (2) upon receipt of the Receiver’s responses to the inquiries listed in No. 2 and
                                   5
                                                   submission of effective contact information for PersonalWeb and its assurance that
                                   6
                                                   it will be responsive to these judicial proceedings. Satisfaction of No. 2 is not self-
                                   7
                                                   executing and will require express approval of the Court;
                                   8
                                             2.    within seven days of this Order, PersonalWeb SHALL do the following:
                                   9
                                                   a. PersonalWeb SHALL provide a copy of this Order to the Receiver;
                                  10
                                                   b. PersonalWeb SHALL request in writing that the Receiver answer the following
                                  11
                                                      questions in writing within 30 days and submit those answers to this Court
                                  12
Northern District of California




                                                      immediately upon receipt:
 United States District Court




                                  13
                                                           i. Based on the ongoing proceedings before the Northern District of
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                                                              California in In re PersonalWeb Technologies, LLC Patent Litigation,
                                  15
                                                              No. 18–md–02834–BLF, will the Receiver retain counsel to appear in this
                                  16
                                                              federal court case?
                                  17
                                                          ii. If the Receiver is not willing to retain counsel for the Receiver, will the
                                  18
                                                              Receiver authorize PersonalWeb to do so and to reasonably compensate
                                  19
                                                              that attorney?
                                  20
                                                         iii. If the Receiver is not willing to retain counsel, or authorize PersonalWeb
                                  21
                                                              to do so, will the Receiver confirm that there are no restrictions under the
                                  22
                                                              receivership proceedings barring PersonalWeb from complying with
                                  23
                                                              orders issued by the federal court, appearing before the Court, and making
                                  24
                                                              statements binding on PersonalWeb?
                                  25
                                                   c. PersonalWeb SHALL transmit to the Receiver a copy of this Order within seven
                                  26
                                                      days and submit a cover letter requesting a written response within 30 days
                                  27
                                                      thereafter;
                                  28
                                                                                      8
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                                   1         3.     within 30 days of this Order, PersonalWeb SHALL file a status update with the Court

                                   2                indicating whether it has received a written response from the Receiver regarding the

                                   3                requests listed above;

                                   4         4.     if the Receiver chooses not to respond to PersonalWeb’s requests listed above, the

                                   5                Court will communicate with the Los Angeles County Superior Court directly;

                                   6         5.     Amazon’s requests for affirmative relief in its Opposition (ECF No. 742 at 9–10) are

                                   7                STRICKEN; and

                                   8         6.     Further motion practice before the Magistrate Judge handling post-judgment

                                   9                discovery is stayed for 45 days.

                                  10

                                  11   Dated: June 24, 2022

                                  12                                                   ______________________________________
Northern District of California
 United States District Court




                                                                                       BETH LABSON FREEMAN
                                  13                                                   United States District Judge
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